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                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                         CHARLESTON DIVISION

IN RE: ETHICON, INC.
       PELVIC SUPPORT SYSTEMS
       PRODUCTS LIABILITY LITIGATION

                                                                  MDL 2327
_____________________________________________________________________________

THIS DOCUMENT RELATES TO THE
CASES IN EXHIBIT A ATTACHED HERETO

                                      INACTIVE DOCKET ORDER

        The Court has been advised by counsel that in the cases listed on the attached Exhibit A,

the plaintiffs and Ethicon, Inc.1 ("Ethicon") have agreed to a settlement model with regard to

Ethicon. The Court, therefore, finds it unnecessary to conduct further proceedings or to keep

these cases on the active docket. Accordingly, the Court ORDERS as follows:

        1.       All discovery deadlines are continued until further order of the Court.

        2.       That the Clerk retire each of the cases listed on the attached Exhibit A from the

active docket.

        3.       Plaintiffs and Ethicon may submit an agreed order of dismissal with prejudice on

or before October 31, 2017; if settlements are not finalized and dismissal orders are not

submitted by October 31, 2017, then the Court will have a hearing to determine the appropriate

action pertaining to any remaining cases on the inactive docket.

        Counsel for plaintiffs and defendant(s) are directed to provide quarterly reports as to their

progress in dismissing cases on the inactive docket. The Court is aware that counsel have agreed


1
  As used herein, “Ethicon” refers collectively to Johnson & Johnson, Ethicon LLC, Ethicon, Inc. as well as any of
its former or present parent companies, subsidiaries, affiliated companies, directors, officers, design surgeons,
employees, distributors, detail representatives named in an action pending in MDL No. 2327
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to a settlement model for a group of cases and claims, including those on Exhibit A. The Court

will reinstate any case on the attached Exhibit A to the active docket if one of the parties, on

motion, shows good cause for such reinstatement. Good cause includes, but is not limited to, a

plaintiff’s refusal or inability to consummate settlement. Such motion must be accompanied by

an affidavit from plaintiff explaining such refusal or inability.

       The Court DIRECTS the Clerk to file a copy of this order in MDL No. 2327 and in the

individual cases listed on the attached Exhibit A. The Clerk is further DIRECTED to link this

                                                              4052
Order to the Proposed Inactive Docket order filed at ECF NO.__________, and send a copy of

this Order to counsel of record and any unrepresented party.




                                                       Honorable Joseph R. Goodwin
                                                       UNITED STATES DISTRICT JUDGE
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                                    EXHIBIT A
                                   LEVIN SIMES


Plaintiff Last Name Plaintiff First Name   Case No.
       Willis              Patricia         2:13-cv-2767
     Woolever               Maria           2:13-cv-9628
      Barkley               Karen           14-cv-23470
       Cohen                Paula          2:15-cv-00934
       Coons               Donna            13-cv-20058
      Crochet              Carmen           13-cv-15951
       Dillard            Telaestar         13-cv-20056
     Fitzgerald            Alberta           15-cv-1089
       Flores              Rosalie          15-cv-11745
        Fones              Marsha           13-cv-17061
       Forbes             Kathleen           15-cv-3953
       Ginex                Lydia           13-cv-21555
       Green                 Ann            15-cv-10996
      Guzman                Trina           14-cv-23473
       Hacker             Michelle          13-cv-17966
       Hebert                Jane           12-cv-03568
        Hesse             Danielle          14-cv-12437
      Ishmael                Lisa            12-cv-7409
      Lambert              Jo Ann           13-cv-18034
       Litaker             Deanna            15-cv-1099
       Martin              Donna             12-cv-7747
       Miller             Marjorie           15-cv-1391
       Nugent            Rosemarie          14-cv-19240
        Quin               Delores          14-cv-26550
        Stone             Kathryn           13-cv-20050
       Trotta                Joan           13-cv-33988
        Watt               Brenda           15-cv-11350
       Weber               Sharon           13-cv-19016
      Rodgers              Donna           2:13-cv-10383
        Crow                Nina            2:13-cv-6645
       Brown               Cheryl          2:13-cv-04634


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